C18-0298                         EAB/cmw                       March 7, 2018

                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION – CLEVELAND

                                        )
IN RE:                                  )    CASE NO. 17-17251
                                        )
Edward A Davis                          )    CHAPTER 13
Christine M Davis                       )
                                        )    JUDGE Jessica Price Smith
     Debtors                            )
                                        )    OBJECTION TO CONFIRMATION
                                        )    OF THE AMENDED CHAPTER 13 PLAN
                                        )


     Now comes Wells Fargo Bank N.A. dba Wells Fargo Dealer

Services,      a    creditor      herein      holding   a     secured   claim   in    the

within    proceedings,          by     and   through    counsel,    pursuant     to    11

U.S.C,    Section       1324     and    objects    to   the    confirmation     of    the

amended     plan,       based        upon    the   proposed      valuation      of    the

collateral for the following reasons:

     1.     The within case was filed on December 11, 2017 and is

governed by BAPCPA of 2005.

     2.     Creditor has a security interest in a 2013 Cadillac

ATS VIN# 1G6AA5RA0D0139046.

     3.     On October 29, 2016, the Debtors listed above (the

“Debtor”) obtained a loan from Creditor for the purchase of said

2013 Cadillac ATS.

     4.     The monthly payment amount is $428.38 and Creditor is

owed $18,778.33.




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      5.     The   debt   was    incurred     within     the   910-day   period

preceding the filing of the case; therefore, pursuant to 11

U.S.C. § 1325(a) Creditor should be provided for in Section 3.3

of the Plan to be paid in full in the amount of $18,778.33.

      6.     Debtor shall provide Creditor with proof of insurance

for   the   2013   Cadillac     ATS   prior   to   the   confirmation    of   the

Chapter 13 Plan.

      7.     The objection that is raised herewith is a standing

objection and shall continue with reference to the currently

proposed plan and any subsequently modified plan or plans.

      WHEREFORE, Creditor prays that this Court deny confirmation

of the Debtor(s) proposed Chapter 13 Plan.




            /s/ Edward A. Bailey
            Reimer Law Co.
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            BY: Richard J. LaCivita #0072368
            BY: Cynthia A. Jeffrey #0062718
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                                Notice of Hearing

     Parties        in   interest    shall   take   notice   that   the   within

Objection      of   Wells    Fargo   Bank    N.A.   dba   Wells   Fargo   Dealer

Services to Confirmation of Amended Chapter 13 Plan shall come

on for hearing on March 29, 2018 at 9:30 a.m., in conjunction

with the confirmation hearing in the within matter in the Clerk

of Courts, United States Bankruptcy Court, Howard M. Metzenbaum

Court House 201 Superior Avenue, Cleveland, OH 44114.



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                           CERTIFICATE OF SERVICE

I certify that on March 7, 2018, a true and correct copy of the
Objection was served:

Via the Court’s Electronic Case Filing System on these entities
and individuals who are listed on the court’s Electronic Mail
Notice List:

1.   Office of the U.S. Trustee at (registered
     address)@usdoj.gov

2.   Lauren A. Helbling on behalf of the Chapter 13 Trustee's
     office at ch13trustee@ch13cleve.com

3.   William Balena, Esq. on behalf of Edward A Davis, Debtor,
     at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, to:

1.   Edward A Davis
     Christine M Davis, Debtor
     895 Jamestown Ave
     Elyria, OH 44035



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